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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

IN RE:                                         )
                                               )
Brianna Chadic,                                )       Case # 6:18-bk-07236-KSJ
                                               )       Chapter 7
         Debtor.                               )

    CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
    PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
     INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
         AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
                        AND (III ) OTHER RELIEF

         Richard B. Webber II (the “Trustee”), duly appointed Chapter 7 Trustee for the above

referenced debtor (the “Debtor”) pursuant to Sections 105 and 363 of the Bankruptcy Code hereby

files this motion (“Motion”) for entry of an order for authority to sell certain real property free and

clear of all liens, encumbrances, and interests. In support thereof, the Trustee respectfully states

as follows:

                                            JURISDICTION

         1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),

(N), and (O).

         2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

         3.      The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

Rules of Bankruptcy Procedure 2002 and 6004.

                                           BACKGROUND

         4.      On 11/20/2018 the Debtor commenced this case by filing a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

         5.      Richard B. Webber II is the duly appointed and qualified Chapter 7 Trustee.

         6.      The Trustee held and concluded the 341 meeting of creditors on 01/10/2019.

                                                                                                     1
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        7.       The Debtor scheduled a 100% ownership interest in the real property located at

5 Ox Hill Lane Norwich, CT 06360 (the “Property”) and legally described as follows:


        LOT:10 BLK:1 CITY/MUNI/TWP:NORWICH


        8.       The Debtor scheduled the Property as having a value of $198,900.00 subject to a

mortgage in favor of Dime Bank (the “Secured Creditor(s)”) in the amount owed on the Petition

Date of approximately $168,666.00.


        9.       The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

(“BKRES”) and Listing Agent, has determined it to be in the best interest of the Debtor’s estate

and all creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:


                 a. sell the Property to whichever third party Trustee determines to have made the

                      best qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the

                      estate with respect to the Property (including any deficiency claims resulting

                      from the proposed sale); and

                 c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with

                      the proposed sale, including the payment of a 6% real estate brokerage

                      commission to BKRES and Listing Agent and reimbursement of their out-of-

                      pocket expenses, and provide a carve out for the benefit of allowed unsecured

                      creditors of the Debtor’s estate.

        10. The Secured Creditor has represented and warranted that it possesses a valid, perfected,




1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
                                                                                                             2
             Case 6:18-bk-07236-KSJ       Doc 31      Filed 11/07/19     Page 3 of 12
enforceable and unavoidable first mortgage lien on the Property by virtue of a promissory note and

mortgage recorded in the Official Records Book, consisting of principal and Interest (the “Secured

Creditor Indebtedness”).

                                        RELIEF REQUESTED

       11.      The Trustee requests the entry of an order pursuant to Section 363 of the

Bankruptcy Code approving the sale of the Property, using the services of BKRES and Listing

Agent, free and clear of all liens, claims, encumbrances, and interests. As a material inducement

to the Trustee’s decision to pursue the proposed sale, the Secured Creditor consents to the

Property’s sale and the creation of a carve-out fund (the “Carve-Out Fund”) that will provide for

the costs of this case to be paid and provide a recovery for other creditors. The Trustee requests

that any creditor (other than the Secured Creditor) asserting an interest or secured claim against

the Property be required to assert no later than 5 days prior to the hearing on the instant Motion,

and substantiate the basis for such asserted interest or secured claim, or the Court will authorize

the sale of the Property free and clear of any such asserted interest or security interest, with such

claims, at best, being treated as a general unsecured claim.

                                         BASIS FOR RELIEF

                A.     The Sale of the Property Should Be Approved

       12.      The Trustee seeks the Court’s authority to sell the Property free and clear of all

liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and his

professionals, pursuant to the Sale procedures described below.

       13.      Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and

hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary course of

business. The Court should approve the sale if the Trustee can demonstrate a sound business

justification for the sale and if the sale process is fair, open, and reasonable. See Official Comm.

                                                                                                   3
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Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.),

973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.

S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the ordinary

course of business.

       14.      The Trustee, through the services of BKRES and Listing Agent, have listed the

property and accepted an offer that has been approved by the Secured Creditor and will result in a

carve-out for the Bankruptcy Estate of $7,500.00. Attached as Exhibits “A” and “B” respectively

are the settlement statement and letter of consent/approval from the Secured Creditor.

       15.      Accordingly, the Trustee submits that the sale of the Property pursuant to the above

process is reasonable under Section 363(b) of the Bankruptcy Code.

       B.       The Sale of the Property Should Be Approved Free and Clear of All
                      Interests

       16.      Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property

free and clear of any interest in such property in an entity other than the estate if (1) permitted

under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest

is a lien and the purchase price at which the property is to be sold is greater than the aggregate

value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or (5) the

party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a

money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

(2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and interests . . . It

thus allows purchasers . . . to acquire assets [from a debtor] without any accompanying

liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

       17.      The Trustee states that he shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.

       18. The Trustee requests that any creditor (other than the Secured Creditor) asserting an
                                                                                                    4
                 Case 6:18-bk-07236-KSJ             Doc 31       Filed 11/07/19        Page 5 of 12
interest or secured claim against the Property, after proper notice is given, be required to timely

assert and substantiate the basis for such asserted interest or secured claim, by filing and serving

responsive papers no later than 5 days prior to the hearing on the instant Motion, or the Court will

authorize the sale of the Property free and clear of any such asserted interest or security interest,

with such claims, at best, being treated as a general unsecured claim.2 Failure to object after proper

notice and opportunity to object is deemed consent. See BAC Home Loans Servicing LP v. Grassi,

2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc. v. Elliott, 94

B.R. 343 (E.D. Pa. 1988); In re Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v.

Reuters Ltd., 312 F.3d 281 (7th Cir.); In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr.

S.D. Fla., May 21, 2012).

           19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the

Trustee or his professionals. Notwithstanding that the Trustee will seek authority to execute all

documents and instruments he deems reasonable, necessary and/or desirable to close the sale, the

only documents that the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed,

and (b) a copy of the Final Sale Order.

           20.      The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any

HOA fees accrued post-petition or the equivalent to twelve months’ assessments and (3) all closing

costs excluding professional fees but including State Documentary Stamps for the entire closing

price pursuant to Florida Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any

payments by the Secured Creditor as stated herein shall be subject to any and all limitations on the

Secured Creditor’s liability for any fees and costs under applicable law.


2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
                                                                                                                  5
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       C.       The Sale Will Be Undertaken by the Buyer in Good Faith

       21.      Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

was later reversed or modified on appeal.

       22.      The sale should be found to have been in good faith if the Trustee can demonstrate

the transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West

Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997)

(“Typically, the misconduct that would destroy a purchaser’s good faith status at a judicial sale

involves fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

take grossly unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke

Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a

sale was entitled to the protections of Section 363(m) of the Bankruptcy Code when it was based

upon arm’s length bargaining and without collusion).

       23.      The Trustee asserts that the sale of the Property will utilize a competitive and

transparent marketplace that facilitates an arm’s-length sale without fraud or collusion.

Accordingly, the Trustee respectfully requests that the Court find that the purchaser(s) will be

entitled to the protections of Section 363(m) of the Bankruptcy Code.

       24.      The Trustee further states that:

                (a)    the Trustee has reviewed the tax implications of the proposed Sale and has

determined that the proposed sale will not result in a capital gains tax event to the estate or other

taxable event which would negate the benefit realized from the Carve Out;

                (b)    the Trustee has determined, based upon a review of the schedules and

information derived from the 341 meeting, that there will likely be a meaningful distribution to

creditors based upon the understanding that the final sale price and the total dollar amount of claims

to be filed in this case are both unknown and can only be estimated at this time; and

                                                                                                    6
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                 (c)   Given the information available at this time, the Trustee has made an

educated evaluation and determined that the proposed Sale is in the best interest of the estate and

its creditors.

        25. The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant to

Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee

to close on the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to

take all actions and execute all documents he deems reasonable, necessary and/or desirable to

effectuate the requested relief; (c) retain sole and exclusive personal subject matter jurisdiction to

implement, interpret and enforce the terms of the this Motion and the Final Sale Order; and (d)

adjudicate all claims, controversies and/or disputes arising from or related to the proposed sale.

                                            CONCLUSION

        WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving

the short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy Code and for

such other and further relief as this Court deems just and equitable under the circumstances of the

case.

                                                      RESPECTFULLY SUBMITTED,

                                                      /s/Richard B. Webber II
                                                      Richard B. Webber II, Trustee
                                                      P.O. Box 3000
                                                      Orlando, FL 32802
                                                      Phone: (407) 425-7010
                                                      E-mail: rwebber@zkslawfirm.com

                                  CERTIFICATE OF SERVICE

         Under penalty of perjury, I have read the foregoing Motion and it is true and correct to the
best of my knowledge. I HEREBY CERTIFY that a true and correct copy of the foregoing Motion
has been furnished via first-class United States Mail, postage prepaid, or via electronic mail this
to: all creditors and parties of interest listed on the attached matrix on November 7, 2019.

                                                      /s/Richard B. Webber II
                                                      Richard Webber, Trustee


                                                                                                     7
Label Matrix for local noticingCase 6:18-bk-07236-KSJ       Doc 31 Filed 11/07/19
                                              Brianna Lynne Chadic                  Page   8 ofExpress
                                                                                      American   12 National Bank, AENB
113A-6                                        1066 Osprey Dr.                         c/o Zwicker & Associates, P.C.
Case 6:18-bk-07236-KSJ                        Melbourne, FL 32940-7852                80 Minuteman Road
Middle District of Florida                                                            P.O. Box 9043
Orlando                                                                               Andover, MA 01810-0943
Thu Nov 7 14:59:55 EST 2019
Internal Revenue Service                      PYOD, LLC                               Wells Fargo Bank, N.A.
Post Office Box 7346                          Resurgent Capital Services              435 Ford Road, Suite 300
Philadelphia PA 19101-7346                    PO Box 19008                            St. Louis Park, MN 55426-4938
                                              Greenville, SC 29602-9008


Wells Fargo Bank, N.A.                     Michael Faro +                             Richard B Webber +
Wells Fargo Card Services                  Faro & Crowder, PA                         Post Office Box 3000
PO Box 10438, MAC F8235-02F                1801 Sarno Road, Suite 1                   Orlando, FL 32802-3000
Des Moines, IA 50306-0438                  Melbourne, FL 32935-3989


Bradley J Anderson +                       Melbalynn Fisher +                         Note: Entries with a ’+’ at the end of the
Zimmerman Kiser & Sutcliffe PA             McCalla Raymer Lelbert & Pierce, LLC       name have an email address on file in CMECF
315 East Robinson Street                   110 S.E. 6th Street, Suite 2400
Suite 600                                  Fort Lauderdale, FL 33301-5056
Orlando, FL 32801-4341

End of Label Matrix
Mailable recipients    11
Bypassed recipients     0
Total                  11
                           Case 6:18-bk-07236-KSJ                Doc 31         Filed 11/07/19         Page 9 of 12


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Ü¿¬» ×­­«»¼                 11/04/2019                              Þ±®®±©»®    Emile Dulcine, Celia E. Dulcine
Ý´±­·²¹ Ü¿¬»                12/06/2019                                          75 Alice Street Extension
Ü·­¾«®­»³»²¬ Ü¿¬»           12/06/2019                                          Norwich, CT 06360
Í»¬¬´»³»²¬ ß¹»²¬            Law Office of Chris                     Í»´´»®      Richard B. Weber as Trustee for the Bankruptcy Estate of
Ú·´» ý                      DulcBRCA6710                                        PO Box 3000
Ð®±°»®¬§                    5 Ox Hill Lane                                      Orlando, FL 32802
                            Norwich, CT 06360
Sale Price                  $150,000



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ðê Discharge of Mortgage to Dime Bank                     $124,989.29          Ò¿³»                       Law Office of Chris Albanese, LLC
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                                                                                                          Gales Ferry, CT 06335
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                       Case 6:18-bk-07236-KSJ                     Doc 31     Filed 11/07/19            Page 10 of 12
  Closing Cost Details
                                                                                                        Í»´´»®óÐ¿·¼
    Loan Costs                                                                        ß¬ Ý´±­·²¹                      Þ»º±®» Ý´±­·²¹

   A. Origination Charges
  01 % of Loan Amount (Points)
  02
  03
  04
  05
   B. Services Borrower Did Not Shop For
  01
  02
  03
  04
  05
  06
  07
  08
  09
  10
   C. Services Borrower Did Shop For
  01
  02
  03
  04
  05
  06
  07
  08


    Other Costs
   E. Taxes and Other Government Fees
  01 Recording Fees Deed: Mortgage:
  02 City Transfer Tax to Town Clerk                                                                  $750.00
  03 State Transfer Tax Residential to Commissioner of Revenue                                      $1,125.00
   F. Prepaids
  01 Homeowner’s Insurance Premium mo. to
  02 Mortgage Insurance Premium mo. to
  03 Prepaid Interest per day from to
  04 Property Taxes mo. to Tax Collector                                                            $5,000.00
  05 Sewer Charge mo. to Norwich Public Utilities                                                     $500.00
   G. Initial Escrow Payment at Closing
  01 Homeowner's Insurance per month for mo.
  02 Mortgage Insurance per month for mo.
  03 Property Taxes per month for mo.
  04 Aggregate Adjustment
  05
  06
  07
  08
   H. Other
  01 Bankruptcy Estate Fee to Richard B, Webber, li as treustee                                     $7,500.00
  02 Closing Coordination to Ocean Title                                                              $395.00
  03 Closing Fee to Service Link                                                                      $750.00
  04 Doc Prep fee to Rosenberg, LPA                                                                    $75.00
  05 Real Estate Commission to BK Global                                                            $3,000.00
  06 Real Estate Commission to Re/Max Home Team                                                     $3,000.00
  07 Real Estate Commission to IMT Realty LLC                                                       $3,000.00
  08 Tax Certificate Search Fee to Service Link                                                         $7.00
  09 Title Search to Service Link                                                                     $250.00
  10 Update Fee to Service Link                                                                        $75.00
   J. TOTAL CLOSING COSTS                                                                          $25,427.00                             $0.00
    Confirm Receipt
  By signing, you are only confirming that you have received this form.




  Seller Signature                                                  Date   Seller Signature                                                Date




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 Addendum
 Closing Information:
 Date Issued: 11/04/2019                                                                                                    File No: DulcBRCA6710
 Closing Date: 12/06/2019
 Property Information: 5 Ox Hill Lane
                       Norwich, CT 06360

 Transaction Information:
  Borrower:        Emile Dulcine                                           Borrower:         Celia E. Dulcine
 Address:          75 Alice Street Extension                               Address:          75 Alice Street Extension
 City/ST/Zip:      Norwich, CT 06360                                       City/ST/Zip:     Norwich, CT 06360


 Seller:
 Richard B. Weber as Trustee for the Bankruptcy Estate of Brianna
 Chadic
 Address:          PO Box 3000
 City/ST/Zip:      Orlando, FL 32802


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  Ûò Ì¿¨»­ ¿²¼ Ñ¬¸»® Ù±ª»®²³»²¬ Ú»»­
   03 State Transfer Tax Residential to Commissioner of Revenue Services                                $1,125.00
   Øò Ñ¬¸»®
   01 Bankruptcy Estate Fee to Richard B, Webber, li as treustee for the                                $7,500.00
 Bankruptcy Estate of Brianna Lynne Chadic



    Additional Text                            Text that could not fit on pages 1-5 are shown in full here.
  ß®»¿                                         Ú«´´ Ì»¨¬
 Closing Information, Settlement Agent         Law Office of Chris Albanese, LLC




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                                                                   "B"
